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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                Galveston Division
______________________________________
                                       )
TEXAS DEPARTMENT OF CRIMINAL           )
JUSTICE,                               )
                                       )
                  Plaintiff,           )
                                       )
            v.                         )    Case No. 3:17-cv-00001
                                       )
UNITED STATES FOOD AND DRUG            )
ADMINISTRATION, et al.,                )
                                       )
                  Defendants.          )
                                       )



            DEFENDANTS’ RESPONSE TO THE MOTION TO INTERVENE

       Defendants, the United States Food and Drug Administration, et al., respectfully submit

this response to the Proposed Intervenors’ motion to intervene and seek access to the recently-

rescheduled status conference. See Mot., June 15, 2018, ECF No. 63. As we explained when the

Proposed Intervenors asked for our position, the federal government does not intend to press its

request to seal the hearing. Therefore, while we do not oppose the motion to intervene, we

believe it is unnecessary.
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                                           Respectfully submitted,

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                                           Deputy Assistant Attorney General

                                           GUSTAV EYLER
                                           Acting Director

                                           ANDREW E. CLARK
                                           Assistant Director

                                           s/ Alexander V. Sverdlov   _
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June 20, 2018                              Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on this 20th day of June, 2018, a copy of the

foregoing “DEFENDANTS’ RESPONSE TO THE MOTION TO INTERVENE” was filed

electronically. This filing was served electronically to all parties by operation of the Court’s

electronic filing system.



                                    s/ Alexander V. Sverdlov
